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     Federal Defender
 2   DOUGLAS BEEVERS, Bar #288639
     Assistant Federal Defender
 3   Counsel Designated for Service
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 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5

 6   Attorneys for Defendant
     FERLANDO CARTER
 7
                                     UNITED STATES DISTRICT COURT
 8
                                     EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                         No. CR. S-13-00267-TLN
11
                        Plaintiff,                     STIPULATED REQUEST TO
12                                                     RESCHEDULE STATUS CONFERENCE;
            v.                                         ORDER
13
     FERLANDO CARTER,                                   Date: March 27, 2014
14                                                      Time: 9:30 a.m.
                        Defendant.                      Judge: Honorable Troy L. Nunley
15

16

17          The parties request that the status conference in this case be continued from January 30,
18
     2014, to March 27, 2014 at 9:30 a.m. They stipulate that the time between January 30, 2014 and
19
     March 27, 2014 should be excluded from the calculation of time under the Speedy Trial Act. The
20
     parties stipulate that the ends of justice are served by the Court excluding such time, so that
21
     counsel for the defendant may have reasonable time necessary for effective preparation, taking
22

23   into account the exercise of due diligence. 18 U.S.C. §3161(h)(7)(B)(iv). Specifically, defense

24   needs time to contact witnesses and to investigate defendant's learning disability records over the
25   past 10 years which may be relevant to defense of the unlicensed gun dealing charges. The parties
26
     ///
27
     ///
28
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 1   stipulate and agree that the interests of justice served by granting this continuance outweigh the
 2   best interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(B)(iv).
 3
     Dated: January 28, 2014                               Respectfully submitted,
 4
                                                           HEATHER E. WILLIAMS
 5                                                         Federal Defender
 6                                                         /s/ Douglas Beevers
 7                                                         DOUGLAS BEEVERS
                                                           Assistant Federal Defender
 8                                                         Attorney for Defendant
                                                           FERLANDO CARTER
 9

10
     Dated: January 28, 2014                               BENJAMIN B. WAGNER
11                                                         United States Attorney

12
                                                           /s/ Justin Lee
13                                                         JUSTIN LEE
                                                           Assistant United States Attorney
14

15                                                 ORDER
16          UPON GOOD CAUSE SHOWN and the stipulation of the parties, it is ordered that the
17   status conference presently set for January 30, 2014, be continued to March 27, 2014, at 9:30 a.m.
18   Based on the representation of counsel and good cause appearing therefrom, the Court hereby
19   finds that the ends of justice to be served by granting a continuance outweigh the best interests of
20   the public and the defendant in a speedy trial. It is ordered that time from the date of this Order,
21   to and including, the March 27, 2014, status conference shall be excluded from computation of
22   time within which the trial of this matter must be commenced under the Speedy Trial Act
23   pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4.
24
     Dated: January 29, 2014
25

26
                                                                Troy L. Nunley
27                                                              United States District Judge
28
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